Case 19-23176-AJC Doc13_ Filed 10/28/19 Page 1 of 35

Fill in this information to identify your case:

 

Debtor 1 Dania Muchuli

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) FirstName Middle Name Last Name

 

United States Bankruptcy Court for the: Southern District of Florida
Casenumber 19-23176-AJC

(If known)

Official Form 106Sum

 

L) Check if this is an
amended filing

Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file

your original forms, you must fill out anew Summary and check the box at the top of this page.

} Part 1: Summarize Your Assets

1. Schedule A/B: Property (Official Form 106A/B)
1a. Copy line 55, Total real estate, from Schedule A/B

ib. Copy line 62, Total personal property, from Schedule A/B

1c. Copy line 63, Total of all property on Schedule A/B

} Part 2: Summarize Your Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedule E/F

Your assets
Value of what you own

 

 

$ 0.00
$ 5,909.00
$ 5,909.00

 

 

Your liabilities
Amount you owe

g 0.00

$ 0.00

+s 11,775.00

 

 

 

 

 

Your total liabilities $ 11,775.00
| Part 3: Summarize Your Income and Expenses
4. Schedule /: Your income (Official Form 1061) 4497.00
Copy your combined monthly income from line 12 Of SCRECUIE foo... cc ccc ccccececccsccseeeseteececssesseeecesse cseeseeessaeaeeeeeese ees $e
5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c Of SCHEGUIE Joo. cccccccececssececeeeceessteeeseeecessnseeeeeeecseieesseeecesseeaseeeseestaeeaa $ _ 2,091.00

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information

page 1 of 2
Case 19-23176-AJC Doc13_ Filed 10/28/19 Page 2 of 35
Debtor 1 Dania Muchuli Case number (if known 19-23176-AJC

 

 

First Name Middle Name Last Name

Er Answer These Questions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

LI No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

WI Yes

7. What kind of debt do you have?

4] Your debts are primarily consumer debts. Consumer debfs are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

LJ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
Form 1224-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ 1,497.00

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

Total claim
From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) s_ COO
. . . ay . 0.00

9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $I
9d. Student loans. (Copy line 6f.) s CC .
9e. Obligations arising out of a separation agreement or divorce that you did not report as $ 0.00
priority claims. (Copy line 6g.) TT

9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) + 0.00
9g. Total. Add lines 9a through 9f. $ 0.00

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2
Case 19-23176-AJC Doc13_ Filed 10/28/19

 

Fill in this information to identify your case and this filing:

Dania Muchuli

 

 

Debtor 1

First Name Middle Name LastName
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Southern District of Florida
19-23176-AJC

Case number

 

 

Official Form 106A/B
Schedule A/B: Property

 

Page 3 of 35

LJ Check if this is an
amended filing

12/15

 

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,

write your name and case number (if known). Answer every question.

Ey Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

Y) No. Go to Part 2.

L] Yes. Where is the property?
What is the property? Check all that apply.
L) Single-family home

1.1.

C) dup! Iti-unit buildi
Street address, if available, or other description SREP SUN EUS

 

LJ Condominium or cooperative
LL) Manufactured or mobile home
L) Land

LJ Investment property

LL) Timeshare

LJ other

 

 

City State ZIP Code

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ $

Describe the nature of your ownership
interest (such as fee simple, tenancy by

 

the entireties, or a life estate), if known.

Who has an interest in the property? Check one.

L) Debtor 4 only

L) Debtor 2 only

L) Debtor 1 and Debtor 2 only

LL) At least one of the debtors and another

 

County

 

LJ Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

If you own or have more than one, list here:
What is the property? Check all that apply.
L] Single-family home

1.2.

(J Duplex or multi-unit buildin
Street address, if available, or other description P 9

 

LJ Condominium or cooperative
L) Manufactured or mobile home
LY Land

L) investment property

FIP Gode LJ Timeshare

C) other

 

 

City State

 

Who has an interest in the property? Check one.

LL] Debtor 4 only

L] Debtor 2 only

L] Debtor 1 and Debtor 2 only

L) At least one of the debtors and another

 

County

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ $

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

LI Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

Official Form 106A/B Schedule A/B: Property

page 1
Debtor 4 Dania Muchull

 

First Name Middle Name

1.3.

Last Name

 

Street address, if available, or other description

 

 

City State

ZIP Code

 

County

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number here. ........0. 000.0... ccc ce cence ens e ese ee states tee eeeeeesneeenneneneena >

Ea Describe Your Vehicles

What is the property? Check all that apply.
L] Single-family home

L] Duplex or multi-unit building
Condominium or cooperative
Manufactured or mobile home

Land

Investment property

Timeshare

Other

OOOOOCD

 

Who has an interest in the property? Check one.

L) Debtor 4 only

L) Debtor 2 only

L) Debtor 1 and Debtor 2 only

L) At least one of the debtors and another

Case 19-23176-AJC Doc13_ Filed 10/28/19 Page 4 of 35
Case number (i Anown), 19-23176-AJC

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ $
Describe the nature of your ownership

interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

L] Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

L) No
i Yes
3.1. Make: Honda
Model: Civic
Year: 2012
135400

Approximate mileage:

Other information:

4-Door Sedan.

 

If you own or have more than one, describe here:

3.2. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

Official Form 106A/B

Who has an interest in the property? Check one.
| Debtor 1 only

L) Debtor 2 only

L) Debtor 1 and Debtor 2 only

L) At least one of the debtors and another

L] Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
L) Debtor 4 only

L) Debtor 2 only

L) Debtor 1 and Debtor 2 only

L) At least one of the debtors and another

L] Check if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

Z 3,800.00 3,800.00

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

page 2

 
Debtor 4 Dania Muchull

 

First Name Middle Name

3.3. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

3.4. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

Who has an interest in the property? Check one.

L) Debtor 4 only

L] Debtor 2 only

LL] Debtor 1 and Debtor 2 only

L) At least one of the debtors and another

L] Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

L) Debtor 4 only

L] Debtor 2 only

LL] Debtor 1 and Debtor 2 only

L) At least one of the debtors and another

L] Check if this is community property (see
instructions)

Case 19-23176-AJC Doc13_ Filed 10/28/19 Page 5 of 35
Case number (i Anown), 19-23176-AJC

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories

Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

Wi No

L] Yes

441. Make:
Model:
Year:

Other information:

 

 

 

 

If you own or have more than one, list here:

42. Make:
Model:
Year:

Other information:

 

 

 

 

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that mUMber Mere ooo. ccc ccseeccccssssesecessevssesecnsvassessusevsecessevsesesecsansesecsusavssecnevacaeens

Official Form 106A/B

Who has an interest in the property? Check one.

L) Debtor 4 only

L) Debtor 2 only

L) Debtor 1 and Debtor 2 only

() At least one of the debtors and another

L] Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

LL] Debtor 4 only

L] Debtor 2 only

L) Debtor 1 and Debtor 2 only

L) At least one of the debtors and another

L] Check if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the
entire property? portion you own?

 

5 3,800.00
> fh

 

 

 

page 3
Case 19-23176-AJC Doc13 Filed 10/28/19 Page 6of 35
Debtor 1 Dania Muchull Case number (if «now 19-23176-AJC

First Name Middle Name Last Name

Ss Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items?

 

 

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
QL) No

4 Yes. Describe......... gas stove, microwave, kitchenware, living room set, dining room set, 2 bedroom sets, gs  __—_——« 884.00
linen sofas, small table

7. Electronics

Examples: Televisions and radios: audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

EN.
\ Yes. Describe........ Samsung Galaxy 9 phone; 43" Samsung Flatscreen TV; 32" LG LED TV | § 159.00

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects:
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
i No

L] Yes. Describe.......... § 0.00
9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

id No
L) Yes. Describe.......... 5 0.00

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

4 No
L) Yes. Describe.......... § 0.00

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

L) No

W Yes. Describe.......... casual shoes, shirts, jeans, dresses, socks, pants, sweaters, everyday clothing, undergarments, | s 186.00
belts, coats, blouses (purchased at Walmart, Ross, etc.).

12. Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver

LI No

(4 Yes. Describe.......... . ; '
non-precious and _non-designer earrings and watch See

13. Non-farm animals
Examples: Dogs, cats, birds, horses

bd No
Q) Yes. Describe.......... $ 0.00

14. Any other personal and household items you did not already list, including any health aids you did not list

id No

L] Yes. Give specific $ 0.00

information. .......0...... Bi a

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached $ 1312.00
for Parts. Wittethiat RUMBED NSPE sees enue nnencernracearc acces —

 

 

 

Official Form 106A/B Schedule A/B: Property page 4
Case 19-23176-AJC Doc13 Filed 10/28/19 Page {93 55_n.10

Debtor 1 Dania Muchull Case number (if «now

 

 

 

First Name Middle Name Last Name
ea Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured claims
or exemptions.
16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
QL) No
BL, 56 oc siesou asus scopes secession em sence ge one src ommetsccne Cash: ccccwsusune 14.00

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.

L) No

WA Yes occ Institution name:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

17.1. Checking account: TD BANK (3643) $ 33.00
17.2. Checking account: $
17.3. Savings account: S$
17.4. Savings account: $
17.5. Certificates of deposit: $
17.6. Other financial account: $
17.7, Other financial account: $
17.8. Other financial account: $
17.9, Other financial account: $
18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
WZ No
Institution or issuer name:
$F
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture
4 No Name of entity: % of ownership:
L] Yes. Give specific 0% % $
information about 0% SSS
a e % Bo
O% 8g §

 

Official Form 106A/B Schedule A/B: Property page 5
Case 19-23176-AJC Doc13 Filed 10/28/19 Page 8 of 35
Case number (i known) 19-23176-AJC

Debtor 1 Dania Muchuli

 

 

First Name Middle Name Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

YW No

L] Yes. Give specific Issuer name:
information about

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

{heM....... eee $i
$F
$F

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
J No
QL) Yes. List each

account separately. Type of account: Institution name:

401(k) or similar plan: $F
Pension plan: $
IRA: $
Retirement account: $
Keogh: $F
Additional account: $
Additional account: Bo
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others
QL) No
Zi WES sconce Institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit: Argelio Cruz & Lucia Cruz (Residential Property) $ 750.00
Prepaid rent: $
Telephone: $
Water: $e
Rented furniture: $
Other: $e
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
J No
QU) Yes cue. — Issuer name and description:
$F
$e
$

 

Official Form 106A/B Schedule A/B: Property

page 6
Case 19-23176-AJC Doc13 Filed 10/28/19 Page 9of35
Debtor 1 Dania Muchuli Case number (i known) 19-231/6-AJC

First Name Middle Name Last Name

 

 

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

4 No
CU YS sccneeeen carers

Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

ZY No

L] Yes. Give specific
information about them... $

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

WI No

L] Yes. Give specific
information about them.... $

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

YW No

L) Yes. Give specific
information about them.... $

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you

YI No

L] Yes. Give specific information
about them, including whether
you already filed the returns State: $
and the tax years. .......

Federal: $

Local: $

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

YI No

L) Yes. Give specific information..............

Alimony: Bo
Maintenance: Bo
Support: BS
Divorce settlement: $F
Property settlement: $F
30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
J No
L] Yes. Give specific information............... 3

Official Form 106A/B Schedule A/B: Property page 7
35

Case 19-23176-AJC Doc13 _ Filed 10/28/19 Page 10 of
19-23176-AJC

Debtor 1 Dania Muchull Case number (if known)

First Name Middle Name Last Name

 

 

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

WI No

L) Yes. Name the insurance company

: Sees Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ...

32. Any interest in property that is due you from someone who has died

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

i No

L] Yes. Give specific information..............

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

2 No

LL] Yes. Describe each claim. ..ccc.ccccene

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

2 No

L] Yes. Describe each claim. ..cc.ccccee«

35. Any financial assets you did not already list

WI No

L] Yes. Give specific information............

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write-that nimiber Were es ssceces- ews aseccescawaasecescawan wecescawanwetesrawanuetenawanuecarawanmcaawanceccund $ 797.00

 

 

 

ia Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37. Do you own or have any legal or equitable interest in any business-related property?
WJ No. Go to Part 6.
C) Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

38. Accounts receivable or commissions you already earned

L) No
CL) Yes. Describe.......

Bo
39. Office equipment, furnishings, and supplies
Examples. Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
QI No
QL) Yes. Describe........ $

Official Form 106A/B Schedule A/B: Property page 8
 

 

 

 

 

 

 

 

 

 

 

 

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Debtor 1 Dania Muchull Case number (if «now 19-231/6-AJC
First Name Middle Name Last Name
40.Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
QL) No
UL) Yes. Describe........ $
41.Inventory
QL) No
CJ Yes. Describe...... Bo
42. Interests in partnerships or joint ventures
LI No
Ll Yes. Describe....... Name of entity: % of ownership:
% Bo
ha $F
% $F
43. Customer lists, mailing lists, or other compilations
LI No
CL) Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
L} No
L) Yes. Describe.......
$F
44. Any business-related property you did not already list
QL) No
L] Yes. Give specific $
information .........
$
$
$
$
$
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $
for Part 5. Write that mumber Mere oo.....ccccccccc ccc ccs ssscsssesssessseessssssaseessseseassessessesreesisetearsessarsesieesiereeatseetarceseesisseeteeeaneeneacceees SD 1]

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
4 No. Go to Part 7.
UL) Yes. Go to line 47.
Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

47. Farm animals
Examples: Livestock, poultry, farm-raised fish

LI No
oe

Official Form 106A/B Schedule A/B: Property page 9
Case 19-23176-AJC Doc13 Filed 10/28/19 Page 12
pebtor? Dania Muchuli Case number ¢¢ inown_19-

First Name Middle Name Last Name

 

48. Crops—either growing or harvested

L] No

L] Yes. Give specific
information. ............

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
CL) No
i

50. Farm and fishing supplies, chemicals, and feed

L) No
ee

51. Any farm- and commercial fishing-related property you did not already list
LI No

L) Yes. Give specific
information. ............

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached

for Part 6. Write that Number here ooo... cc cccesecscssnsesccssssvsesecesvsesesecssnsscesaesavseseseesssascessansssesessavaesesesaansesecaasasenseseeeasarees

Describe All Property You Own or Have an Interest in That You Did Not List Above

of
23

3

4

2
46-AJC

>

 

 

 

 

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

WI No

L) Yes. Give specific
information. ............

54. Add the dollar value of all of your entries from Part 7. Write that number here «0.0.00... ceceeteteceensneeeeenane

List the Totals of Each Part of this Form

55. Part 1: Total real estate, LI 2 oo. ccc ccsesccscssssesccsssevseseceevsssesessssasseseusavssesesessnacessanaseesessavaeseseessnaseecsasaveecessevaesececsanaeeessasees

56. Part 2: Total vehicles, line 5 $ 3,800.00

57. Part 3: Total personal and household items, line 15 $ 1,312.00

58. Part 4: Total financial assets, line 36 $ 797.00

59. Part 5: Total business-related property, line 45 $ 0.00

60. Part 6: Total farm- and fishing-related property, line 52 $ 0.00

61.Part 7: Total other property not listed, line 54 +$ 0.00

62. Total personal property. Add lines 56 through 61. ................ $

63. Total of all property on Schedule A/B. Add line 55 + JING 62. ooo. eceescecsseaeeeeeeecssseeeeeeeeesaseeeseeeeneseeaaeeeeees

Official Form 106A/B Schedule A/B: Property

 

 

 

0.00

 

 

$

5,909.00

 

page 10

 

 

 
Case 19-23176-AJC Doc13_ Filed 10/28/19 Page 13 of 35

Fill in this information to identify your case:

 

Debtor 1 Dania Muchuli

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if fling) FirstName

 

Middle Name Last Name

United States Bankruptcy Court for the: Southern District of Florida
Case number _19-23176-AJC

(IF known)

LI Check if this is an
amended filing

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt o4iig

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

aa Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

wi You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
L] You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/S that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

Schedule A/B that lists this property portion you own

Copy the value from Check only one box for each exemption.

 

 

 

3.

 

 

Schedule A/B
Brief “oi
description: Household Goods & Furnishings —¢ 884.00 Yi ¢ 864.00 Fla. Con. Art. X, §4
Line from LI 100% of fair market value, up to (Perso nal Property)
Schedule AB: & any applicable statutory limit
Brief .
description: Electronics ¢ 159.00 YJ ¢ 116.00 Fla. Con. Art. X, §4
Linetom z. L) 100% of fair market value, up to (Personal Property)
Schedule AB: —— any applicable statutory limit
Brief ' a
description: 12 Honda Civic g 3,800.00 Yj ¢ 1,000.00 222.25(1 ); Fla. Stat.
Line from L] 100% of fair market value, upto (2019) (Vehicle Equity)
Schedule AB: 31. any applicable statutory limit

Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

Wi No

L) Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

L) No
L] Yes

Official Form 106C

Schedule C: The Property You Claim as Exempt

page lof __
Debtor 1

Case 19-23176-AJC Doc 13

Dania Muchuli

 

First Name

Middle Name

ES Additional Page

Brief description of the property and line Current value of the

on Schedule A/B that lists this property

Brief
description:

Line from

Schedule AB:

Brief
description:

Line from

Schedule AB:

Brief
description:

Line from

Schedule AB:

Brief
description:

Line from

Schedule AB:

Brief
description:

Line from

Schedule AB:

Brief
description:

Line from

Schedule AB:

Brief
description:

Line from

Schedule AB:

Brief
description:

Line from

Schedule AB:

Brief
description:

Line from

Schedule AB:

Brief
description:

Line from

Schedule AB:

Brief
description:

Line from

Schedule AB:

Brief
description:

Line from

Schedule AB:

Official Form 106C

Last Name

portion you own

Copy the value fram

Filed 10/28/19 Page 14 of 35
Case number (if known), 19-23176-AJC

 

Amount of the exemption you claim Specific laws that allow exemption

Check only one box for each exemption

Ws 2,800.00 222.25(4), Fla. Stat.

 

L) 100% of fair market value, up to (201 9) (Wildcard)

any applicable statutory limit

lds 43.00 222.25(A4), Fla. Stat.

 

 

L) 100% of fair market value, up to (201 9) (Wildcard)

any applicable statutory limit

 

Ws 186.00 222.25(A4), Fla. Stat.

 

L) 100% of fair market value, up to (201 9) (Wildcard)

any applicable statutory limit

 

Us 83.00 222.25(4), Fla. Stat.

 

C) 100% of fair market value, up to (2019) (Wildcard)

any applicable statutory limit

Ws 14.00 222.25(A4), Fla. Stat.

 

 

L) 100% of fair market value, up to (201 9) (Wildcard)

any applicable statutory limit

 

Ws 33.00 222.25(A4), Fla. Stat.

 

1) 100% of fair market value, up to (201 9) (Wildcard)

any applicable statutory limit

 

ws 750.00 222.25(4), Fla. Stat.

 

L) 100% of fair market value, up to (201 9) (Wildcard)

any applicable statutory limit

 

 

L) 100% of fair market value, up to
any applicable statutory limit

 

 

L) 100% of fair market value, up to
any applicable statutory limit

 

 

L) 100% of fair market value, up to
any applicable statutory limit

 

 

L) 100% of fair market value, up to
any applicable statutory limit

 

Schedule A/B
‘12 Honda Civic $ 2,800.00
3.1
Electronics $ 43.00
Fo
Clothes § 186.00
A
Jewelry $ 83.00
Ae
Cash $ 14.00
16.
Deposits of Money § 33.00
jf
Security Deposits $ 750.00
22
$ Ls
$ Ls
$ Us
$ Ls
$ ul $

 

L) 100% of fair market value, up to
any applicable statutory limit

 

Schedule C: The Property You Claim as Exempt page 2 of __
Case 19-23176-AJC Doc13_ Filed 10/28/19 Page 15 of 35

Fill in this information to identify your case:

 

Debtor 1 Dania Muchull

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) FirstName Middle Name Last Name

 

United States Bankruptcy Court forthe: Southern District of Florida

Casenumber 19-23176-AJC
(If known} CL) Check if this is an

 

 

amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

 

 

1. Do any creditors have claims secured by your property?
i No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
LJ Yes. Fill in all of the information below.

| Part 4: List All Secured Claims

 

 

 

 

 

 

 

 

Column A Column B Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately pr ountofclaim Value of collateral Unsecured
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. De nardeduertne that supports this portion
As much as possible, list the claims in alphabetical order according to the creditor's name. Nalde cuealatccall claim IFany
Describe the property that secures the claim: $ $ $
Creditors Name
Number Street |
4s of the date you file, the claim is: Check all that apply.
C) Contingent
nliquidate
Q) Unliquidated
City State ZIP Code LO) Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
CY Debtor 1 only CJ An agreement you made (such as mortgage or secured
LJ Debtor 2 only car loan)
LJ Debtor 1 and Debtor 2 only ) Statutory lien (such as tax lien, mechanic’s lien)
(LJ At least one of the debtors and another QV Judgment lien from a lawsuit
CJ} Other (including a right to offset}
Q) Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits ofaccount number ___ _
L2.2| Describe the property that secures the claim: $ $ $

 

 

 

Creditors Name

 

 

 

 

 

Number Street |
As of the date you file, the claim is: Check all that apply.
C) Contingent
CJ} Unliquidated
City State ZIP Code | Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
CY Debtor 1 only LJ An agreement you made (such as mortgage or secured
CJ Debtor 2 only car loan)
(J Debtor 1 and Debtor 2 only CJ Statutory lien (such as tax lien, mechanic’s lien)
CJ Atleast one of the debtors and another Q) Judgment lien from a lawsuit
C} Other (including a right to offset)
CL] Check if this claim relates to a

community debt
Date debt was incurred Last 4 digits ofaccount number Ee

Add the dollar value of your entries in Column A on this page. Write that number here: fo |

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 1.
Case 19-23176-AJC__Doc 13 Filed 10/28/19 Page 16 of 35

Fill in this information to identify your case:

 
 

Debtor 4 Dania Muchuli

 

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) FirstName Middle Name Last Name

 

United States Bankruptcy Court for the: Southern District of Florida

19-23176-AJC L) Check if this is an
fitronn) amended filing

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result ina claim. Also list executory contracts on Schedule
A/B: Property (Official Form 1064/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

} Part 4: | List All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?
Wd No. Goto Part 2.
L) Yes.

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim itis. If a claim has beth priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

 

 

 

 

 

 

 

Total claim Priority Nonpriority
amount amount
24
Last 4 digits of account number _ $ $ $
Prionty Creditors Name
When was the debt incurred?
Number Street
4s of the date you file, the claim is: Check all that apply.
City State ZIP Code LU) Contingent
CJ} Unliquidated
Who incurred the debt? Check one. g Disputed
LJ Debtor 4 only
CY Debtor 2 only Type of PRIORITY unsecured claim:
5 Debtor tard Debtor2 only CL} Domestic support obligations
ALlessLonmel Me seneots-ans antler CJ Taxes and certain other debts you owe the government
U Check if this claimis for a community debt CJ Claims for death or personal injury while you were
Is the claim subject to offset? intoxicated
O No C] Other. Specify
L] Yes
b2 | Last 4 digits of account number ————— a: $ $

 

 

Prionty Creditors Name
When was the debt incurred?

 

 

 

Number Street
As of the date you file, the claim is: Check all that apply.
CJ Contingent

City State ZIP Code CJ Unliquidated

Who incurred the debt? Check one. Disputed

CJ Debtor 4 only

Type of PRIORITY unsecured claim:
CL] Debtor 2 only ue

 

CL} Domestic support obligations
LJ Debtor 1 and Debtor 2 only
C0 At least one of the debtors and another CJ Taxes and certain other debts you owe the government
LJ Check if this claim is for a community debt 4 ee ee eat onpersonel iniunrwhileiyou were
Is the claim subject to offset? C} other. Specify
OC) No
CI Yes

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of a]
Debtor 1

 

First Name Middle Name Last Name

} Part 2: | List All of Your NONPRIORITY Unsecured Claims

Dania Muchase 19-23176-AJC Doc 13 Filed 10/28/49 ,,Page, 44.96-88-aJc

e

 

 

3. Do any creditors have nonpriority unsecured claims against you?

LI No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Yes

4. List all of your nonpriority unsecured claims inthe alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

AMERICAN FIRST FINANCE

 

Nonprionty Creditors Name

3515 N RIDGE RD #200

 

 

Number Street
WICHITA KS 67205
City State ZIP Cade

Who incurred the debt? Check one.

A Debtor 1 only

CJ Debtor 2 only

CJ Debtor 1 and Debtor 2 only

(J Atleast one of the debtors and another

LJ Check if this claim is for a community debt

Is the claim subject to offset?

A Noa
C} Yes

he | CREDIT ONE BANK

 

 

Nonpriority Creditor's Name

 

 

PO BOX 98872

Number Street

LAS VEGAS NV 89193
City State ZIP Code

Who incurred the debt? Check one.

| Debtor 1 only

CJ Debtor 2 only

LJ Debtor 1 and Debtor 2 only

(LJ Atleast one of the debtors and another

CJ Check if this claim is for a community debt

Is the claim subject to offset?

| No
CL} Yes

| = | STATE FARM BANK

 

Nonpriority Creditor's Name

 

 

PO BOX 2313

Number Street

BLOOMINGTON IL 61702
City State ZIP Cade

Who incurred the debt? Check one.

id Debtor 1 only

CJ Debtor 2 only

CJ Debtor 4 and Debtor 2 only

(J Atleast one of the debtors and another

LJ Check if this claim is for a community debt

Is the claim subject to offset?

Vd No
CL] Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

 

Total claim

Last 4 digits of account number ___ _ § 688.00
When was the debt incurred? 6/22/2017
As of the date you file, the claim is: Check all that apply.
CL) Contingent

Unliquidated
| Disputed
Type of NONPRIORITY unsecured claim:
LJ Student loans
C) Obligations arising out of a separation agreement or divorce

that you did not report as priority claims
LJ Debts to pension or profit-sharing plans, and other similar debts
Gd other. Specify Installment (Retail).
Last 4 digits of accountnumber s_____—1,103.00_
When was the debt incurred? 01/04/2015
As of the date you file, the claim is: Check all that apply.
C) Contingent
OY unliquidated
L) Disputed
Type of NONPRIORITY unsecured claim:
LJ Student loans
| Obligations arising out of a separation agreement or divorce

that you did not report as priority claims
CL) Debts to pension or profit-sharing plans, and other similar debts
bd Other. Specify Credit Card
Last 4 digits of accountnumber 717.00

When was the debt incurred? 05/14/2014

As of the date you file, the claim is: Check all that apply.

CL) Contingent
od Unliquidated
L) Disputed

Type of NONPRIORITY unsecured claim:

LJ} Student loans

C) Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

CL} Debts to pension or profit-sharing plans, and other similar debts

ve Other. Specify Credit Card

page2_of D__
 

Dania Muchase 19-23176-AJC Doc 13 Filed 10/28/19, Page, 48.96-88-aJc

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 a
First Name Middle Name Last Name
Your NONPRIORITY Unsecured Claims — Continuation Page
After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
44 ‘i
THE HOME DEPOT/CBNA Last 4 digits of accountnumber § 919.00
Nonprionty Creditors Name
When was the debt incurred? 05/02/2016
PO BOX 6497
Numb Street
SIOUX FALLS SD 57117 4s of the date you file, the claimis: Check all that apply.
City State ZIP Code L) Contingent
Gd Unliquidated
Who incurred the debt? Check one. OQ) Disputed
(a Debtor 1 only
CJ Debtor 2 only Type of NONPRIORITY unsecured claim:
LJ Debtor 1 and Debtor 2 only J Student loans
U) Atleast one of the debtors and another C) Obligations arising out of a separation agreement or divorce that
LJ Check if this claim is for a community debt youudie. not nenart asiprontyriains
LJ Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? SA other. Specify Retail Charge Card.
wa No
C} Yes
[as] igi 214 6
' MIDLAND FUNDING, LLC Last 4 digits of accountnumber 2 1 4 6 $ 1,103.00
Nonpriority Creditor's Name
When was the debt incurred? 05/24/2017
320 EAST BIG BEAVER RD#300
Number Street
As of the date you file, the claimis: Check all that ly.
TROY MI 48083 = eee
City State ZIP Code LJ Contingent
GA Unliquidated
Who incurred the debt? Check one. Og Disputed
WA Debtor 1 only
LJ Debtor 2 only Type of NONPRIORITY unsecured claim:
CJ Debtor 1 and Debtor 2 only CO Student loans
LU] Atleast one of the debtors and another CJ Obligations arising out of a separation agreement or divorce that
were wane ¥ you did not report as priority claims
CJ Check if this claim is for a community debt
CJ} Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Wd other. Specify Collections (Credit One Bank).
Pi No
CL] Yes
5352.00

PORTFOLIO RECOVERY

 

Nonpriority Creditor's Name

120 CORPORATE BLVD, SUITE 100

 

 

Number Street
NORFOLK VA 23002
City State ZIP Code

Who incurred the debt? Check one.

wi Debtor 1 only

LJ Debtor 2 only

CJ Debtor 4 and Debtor 2 only

(J Atleast one of the debtors and another

CJ Check if this claimis for a community debt

Is the claim subject to offset?

ad No
LI Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Last 4 digits of account number o ae 4 =
When was the debt incurred? 06/27/2018

As of the date you file, the claim is: Check all that apply.

C) Contingent
(A Unliquidated
CJ Disputed

Type of NONPRIORITY unsecured claim:

CJ Student loans

| Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

CL} Debts to pension or profit-sharing plans, and other similar debts

GA other. Specify Collections (Citibank, N.A.).

 

pageS_of 9 _
nestor Dania Muchiffase 19-23176-AJC Doc13 Filed 10/28/19, ,,Page, 48.96-88-aJc

 

First Name Middle Name Last Name

e

 

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
47 PORTFOLIO RECOVERY Last 4 digits of account number 5 A 2 1 § 5,01 400
Nonprionty Creditors Name
When was the debt incurred? 06/27/2018
120 CORPORATE BLVD, SUITE 100 ———_
Numb Street
NOR FOLK VA 93502 4s of the date you file, the claimis: Check all that apply.
City State ZIP Code LJ Contingent
Gd Unliquidated
Who incurred the debt? Check one. OQ) Disputed
(a Debtor 1 only
CJ Debtor 2 only Type of NONPRIORITY unsecured claim:
LJ Debtor 1 and Debtor 2 only J Student loans
U) Atleast one of the debtors and another C) Obligations arising out of a separation agreement or divorce that
LJ Check if this claim is for a community debt you.diel net repalt as priority plains .
LJ Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? WA other. Specify Collections (Citibank, N.A.).
wa No
C} Yes
[as] igi 6 0 3 5
' PORTFOLIO RECOVERY Last 4 digits of accountnumber 6 O 3 3. ¢ 1,879.00
Nonpriority Creditor's Name
When was the debt incurred? 06/27/2018
120 CORPORATE BLVD, SUITE 100
Number Street As of the date you file, the claim is: Check all that I
i : Check all that a é
NORFOLK VA 23502 = ey
City State ZIP Code LJ Contingent
GA Unliquidated
Who incurred the debt? Check one. Og Disputed
CJ Debtor 4 only
LJ Debtor 2 only Type of NONPRIORITY unsecured claim:
CJ Debtor 1 and Debtor 2 only CO Student loans
id Atleast one:of the: debtorsiandanother CJ Obligations arising out of a separation agreement or divorce that
CJ Check if this claim is for a community debt yourdiel nok reper ais: pipet clans a
CJ} Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? WA other. Specify Collections (Citibank, N.A.).
Pi No
CL] Yes
L 5

 

Nonpriority Creditor's Name

 

Number Street

 

City State ZIP Code

Who incurred the debt? Check one.

CJ Debtor 4 only

LJ Debtor 2 only

CJ Debtor 4 and Debtor 2 only

(J Atleast one of the debtors and another

CJ Check if this claimis for a community debt

Is the claim subject to offset?

LI No
LI Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Last 4 digits of accountnumber
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

C) Contingent
CJ unliquidated
CJ Disputed

Type of NONPRIORITY unsecured claim:

Student loans

Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts

Other. Specify.

OU OO

paget of 9
Debtor 1

Ea Add the Amounts for Each Type of Unsecured Claim

 

First Name Middle Name Last Name

Dania Much@ase 19-23176-AJC Doc13 Filed 10/28/19

e

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6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

Total claims
from Part 1

Total claims
from Part 2

Official Form 106E/F

6a.

6b.

6c.

6d.

6e.

Sh.

Gi.

Domestic support obligations

Taxes and certain other debts you owe the
government

Claims for death or personal injury while you were
intoxicated

Other. Add all other priority unsecured claims.
Write that amount here.

Total. Add lines 6a through 6d.

. Student loans

. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or profit-sharing plans, and other
similar debts

Other. Add all other nonpriority unsecured claims.
Write that amount here.

6j. Total. Add lines 6f through Gi.

6a.

6b.

6c.

6d.

Ge.

6f.

6g.

6h.

Bi.

Gj.

 

 

 

 

 

 

Total claim
é 0.00
§ 0.00
§ 0.00
+5 0.00
$ 0.00
Total claim
r 0.00
$ 0.00
- 0.00
+5 11,775.00
$ 11,775.00

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

paged of 9 _
Case 19-23176-AJC Doc13_ Filed 10/28/19 Page 21 of 35

Fill in this information to identify your case:

 

 

 

Debtor Dania Muchuli

First Name Middle Name Last Name
Debtor 2
(Spouse lf filing) FirstName Middle Name Last Name

United States Bankruptcy Court for the: Southern District of Florida

49-23176-AJC
oe O Check if this is an

amended filing

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

 

1. Do you have any executory contracts or unexpired leases?
LJ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
Wi Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

21) Argelio Cruz & Lucia Cruz Debtor (lessee) rents the real property located at 1520

Name SW Sth Street, Apt. 6, Miami, FL 33135 as her primary
423 SW 89 PLACE residence.

Number Street

MIAMI FL 33174
City State ZIP Code

 

 

 

2.2

 

Name

 

Number Street

 

City State ZIP Code
2.3

 

Name

 

Number Street

 

City State ZIP Code
2.4

 

Name

 

Number Street

 

City State ZIP Code
2.5

 

Name

 

Number Street

 

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1 of 1
Case 19-23176-AJC Doc13 Filed 10/28/19 Page 22 of 35

 

Fill in this information to identify your case:

Debtor 4 Dania Muchuli

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) FirstName Middle Name Last Name

 

United States Bankruptcy Court for the: Southern District of Florida
Casenumber 19-231/6-AJC

(If known)

L) Check if this is an
amended filing

 

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

a No
CL] Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
L) No. Goto line 3.
L] Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

L) No

QL) Yes. In which community state or territory did you live? . Fillin the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZIP Code

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 7: Your codebtor Column 2: The creditor to whom you owe the debt
Check all schedules that apply:
3.1
(} Schedule D, line
Name
CL} Schedule E/F, line
Number Street LC) ScheduleG, line
City State ZIP Code
3:2
C} Schedule D, line
Name
CL} Schedule E/F, line
Number Street CL} Schedule G, line
City State ZIP Code
3.3
C} Schedule D, line
Name
CL} Schedule E/F, line
Number Street LL} ScheduleG, line
City State ZIP Code

Official Form 106H Schedule H: Your Codebtors page 1 of 1.
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Fill in this information to identify your case:

 

 

Debtor 1 Dania Muchuli

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Southern District of Florida
Casenumber _19-23176-AJC

(If known)

LJ Check if this is an
amended filing

 

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 1245

 

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

a Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

WI No

LL) Yes. Name of person . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

 

 

X Js/ Dania Muchul x
Signature of Debtor 1 Signature of Debtor 2
Date 10/28/2019 Date
MM? DDO YY MM? DDS YYYY

Official Form 106Dec Declaration About an Individual Debtor’s Schedules
Case 19-23176-AJC Doc13_ Filed 10/28/19 Page 24 of 35

Fill in this information to identify your case:

 

Debtor 1 Dania Muchuli

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Southern District of Florida

coeenumpe TP28176-AIC
(If known) CL) Check if this is an

amended filing

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 046

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if Known). Answer every question.

eS Give Details About Your Marital Status and Where You Lived Before

 

1. What is your current marital status?

wi Married
L) Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

of No

LJ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1: Dates Debtor 1 Debtor 2: Dates Debtor 2
lived there lived there
| Same as Debtor 1 | Same as Debtor 1
From From
Number Street Number Street
To _ To
City State ZIP Code City State ZIP Code
| Same as Debtor 1 Lj Same as Debtor 1
From From
Number Street Number Street
To To
City State ZIP Code City State ZIP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
Sfates and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

LJ No
of Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Ez Explain the Sources of Your Income

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1
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Debtor 1 Dania Muchuli

 

First Name Middle Name

Last Name

Case number (if anown, 19-23176-AJC

 

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

L] No
W Yes. Fill in the details.

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

(January 1 to December 31,2018 —_)
yyy

For the calendar year before that:

(January 1 to December 31,2017 —)
yyy

Debtor 1

Sources of income
Check all that apply.

LJ Wages, commissions,
bonuses, tips

Operating a business

CL) Wages, commissions,
bonuses, tips

FA Operating a business

LJ Wages, commissions,
bonuses, tips

FA Operating a business

Gross income

(before deductions and
exclusions)

s 10,773.00

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of ofher income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 7.

Debtor 2

Sources of income
Check all that apply.

| Wages, commissions,
bonuses, tips

L) Operating a business

L) Wages, commissions,
bonuses, tips

L) Operating a business

| Wages, commissions,
bonuses, tips

| Operating a business

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

LI No
Ld Yes. Fill in the details.

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

(January 1 to December 31,2018}
yyy

For the calendar year before that:

(January 1 to December 31,2017)
wr

Official Form 107

Debtor 1

Sources of income
Describe below.

Gross income from
each source

(before deductions and
exclusions)

Debtor 2

Sources of income
Describe below.

 

 

 

Statement of Financial Affairs for Individuals Filing for Bankruptcy

Gross income

(before deductions and
exclusions)

Gross income from
each source

(before deductions and
exclusions)

Child Support ___ 2,700.00 ________g
as es
as ————
Child Support § 3,600.00
Child Support___s_3,600.00

$

$

$

page 2
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Debtor 1 Dania Muchuli Case number (if «nown), 19-23176-AJC

 

 

First Name Middle Name Last Name

er List Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
LJ No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debfs are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

L] No. Goto line 7.

L] Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

“i Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?
Wf No. Gotoline 7.
L] Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that

creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

 

 

 

Dates of Total amount paid Amount you still owe Was this payment for...
payment
F $ $ Lj Mortgage
Creditors Name
L) car
Number Street L) credit card

LL] Loan repayment

 

LJ Suppliers or vendors

 

 

 

Cy Stale ZIP code L) other
$ $ L) Mortgage
Creditors Name
L) car

 

Number Street L) Credit card

L) Loan repayment

 

| Suppliers or vendors

 

 

 

City State ZIP Code W ther
$ $ L) Mortgage
Creditors Name
LL] car

 

Lj Credit card

Number Street

L) Loan repayment

 

Lj Suppliers or vendors
L) other

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3
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Debtor 1 Dania Muchuli Case number (if known) 19-231/6-AJC

 

First Name Middle Name Last Name

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives; any general partners; relatives of any general partners: partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

W No

LJ Yes. List all payments to an insider.

 

 

 

 

Dates of Total amount Amount you still Reason for this payment
payment paid owe
$ $
Insider's Name
Number Street
City State ZIP Code
$C BL

 

Insider's Name

 

Number Street

 

 

City State ZIP Code

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?

Include payments on debts guaranteed or cosigned by an insider.

WI No

L) Yes. List all payments that benefited an insider.

Dates of Total amount Amount you still Reason for this payment

payment Baie ane Include creditor's name

 

$ $
Insider's Name

 

 

Number Street

 

 

City State ZIP Code

 

Insider's Name

 

Number Street

 

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4
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Debtor 1 Dania Muchuli Case number (if «nown), 19-23176-AJC

First Name Middle Name Last Name

 

ar Identify Legal Actions, Repossessions, and Foreclosures

 

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
and contract disputes.

LI No
Wi Yes. Fill in the details.

Nature of the case Court or agency Status of the case

County Civil. Contract & 11th Judicial Circuit Court, Florida

 

 

 

 

 

 

 

. Portfolio Recovery Associates, LLC v. . ;
Case title_ “Oo. Indebtedness (Credit Card). coutname Wd Pending
: : L) on appeal
Dania Muchuli 175 NW 1st Avenue BP
Number Street L) Concluded
Case number 19-16959 CC 23 Miami FL 33128
City State ZIP Code
Case title Court Name LI Pending
LL] on appeal
Number Street LJ Concluded
Case number
City State ZIP Cade

 

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

WM No. Goto line 11.
L) Yes. Fill in the information below.

Describe the property Date Value of the property

 

Creditors Name

 

Number Street Explain what happened

LJ Property was repossessed.

 

Lj Property was foreclosed.
L) Property was garnished.

 

City State ZIP Code L) Property was attached, seized, or levied.

Describe the property Date Value of the propert,

 

Creditors Name

 

Number Street |
Explain what happened

 

Property was repossessed.
Property was foreclosed.
Property was garnished.

 

City State ZIP Code

OOOUD

Property was attached, seized, or levied.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5
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Debtor 1 Dania Muchuli Case number (if known) 19-231/6-AJC

First Name Middle Name Last Name

 

 

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

WZ No

L) Yes. Fill in the details.

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Creditors Name
$
Number Street
City State ZIP Code Last 4 digits of account number: XXXX—__

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

i No
L) Yes

Eo List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

4 No

L) Yes. Fill in the details for each gift.

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts

 

Person to Whom You Gave the Gift

 

 

 

 

 

___ So
Number Street
City State ZIP Code
Person’s relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts

__ $e
Person to Whom You Gave the Gift

$

 

Number Street

 

City State ZIP Code

Person’s relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6
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Debtor 1 Dania Muchuli Case number (if snow 19-23176-AJC

First Name Middle Name Last Name

 

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

W No

LJ Yes. Fillin the details for each gift or contribution.

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed

 

Charity's Name —_—_— Ee

 

 

Number Street

 

City State ZIP Code

So List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

Wf No

L) Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property
how the loss occurred , oa. , loss lost

Include the amount that insurance has paid. List pending insurance

claims on line 33 of Schedule A/B: Property.

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

L] No
Wi Yes. Fill in the details.

 

 

 

 

oo Description and value of any property transferred Date payment or Amount of payment
Fidelis Law, P.A. transfer was
Person Who Was Paid made
PO BOX 831702 Attorney's Fees for instant case.
Number Street 08/17/2019 g __- 600.00

oa $F

MIAMI FL 33283
City State ZIP Code

pmeadowsesqbankruptcy@gmail.com
Email or website address

 

Person Who Made the Payment, if Not You

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7
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Debtor 1 Dania Muchuli

 

First Name Middle Name

Last Name

Description and value of any property transferred

 

Person ¥vho Was Paid

 

Number Street

 

 

City State

Email or website address

ZIP Code

 

Person Vvho Made the Payment, if Not You

Case number (if «nown), 19-23176-AJC

 

Date payment or Amount of
transfer was made payment

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who

promised to help you deal with your creditors or to make payments to your creditors?

Do not include any payment or transfer that you listed on line 16.

Wf No

L] Yes. Fill in the details.

Description and value of any property transferred

 

Person Vwho Vas Paid

 

Number Street

 

 

City State

ZIP Code

Date payment or Amount of payment
transfer was
made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement.

Wf No

LJ Yes. Fill in the details.

Description and value of property
transferred

 

Person ¥vho Received Transfer

 

Number Street

 

 

 

 

 

 

City State ZIP Code
Person’s relationship to you

Person ¥vho Received Transfer

Number Street

City State ZIP Code

Person’s relationship to you

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

Describe any property or payments received Date transfer
or debts paid in exchange was made

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Debtor 1 Dania Muchuli Case number (if snow 19-23176-AJC

First Name Middle Name Last Name

 

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called assef-protection devices.)

A No

L) Yes. Fill in the details.

Description and value of the property transferred Date transfer
was made

Name oftrust So

 

List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

Wi no

C Yes. Fill in the details.

 

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, sold, moved, closing or transfer
or transferred
Name of Financial Institution
XXXX-__ | Checking _ GS
Number Street O Savings

 

CE) Money market

 

| Brokerage

 

 

 

City State ZIP Code | Other
XXXX- _ Q Checking _ _ $_ _
Name of Financial Institution
LJ savings
Number Street C) Money market

| Brokerage

 

LJ other

 

city State ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

Gd No

Q) Yes. Fill in the details.

 

Who else had access to it? Describe the contents Do you still
have it?
LJ No
Name of Financial Institution Name | Yes

 

 

 

Number Street Number Street

 

 

City State ZIP Code

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 9
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Debtor 1 Dania Muchuli Case number (if known) 19-231/6-AJC

First Name Middle Name Last Name

 

 

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No
(J Yes. Fill in the details.

 

 

Who else has orhad access to it? Describe the contents Do you still
have it?
LI No
Name of Storage Facility Name Ll Yes
Number Street Number Street

 

CityState ZIP Code

 

city State ZIP Code

Te Identify Property Yeu Hold or Control for Someone Else

 

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.
w No
CJ Yes. Fill inthe details.

Where is the property? Describe the property Value

 

Owner's Name $

 

Number Street

 

Number Street

 

 

 

City State ZIP Code

 

City State ZIP Code

Cro Give Detalis About Environmental Information

 

For the purpose of Part 10, the following definitions apply:

a Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

= Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

= Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

ZI No

CJ Yes. Fill in the details.

 

 

 

Governmental unit Environmental law, if you know it Date of notice
Name of site Governmental unit
Number Street Number Street

City State ZIP Code

 

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 10
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Debtor 1 Dania Muchuli Case number (if known) 19-231/6-AJC

First Name Middle Name Last Name

 

 

25. Have you notified any governmental unit of any release of hazardous material?

Gi No

C) Yes. Fill in the details.

 

 

 

Governmental unit Environmental law, if you know it Date of notice
Name of site Governmental unit OT
Number Street Number Street

City State ZIP Code

 

City State ZIP Code

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

i No

C] Yes. Fill in the details.

Court or agency Nature of the case Status of the

 

 

 

 

 

case
Case title g
Court Name Pending
Gl On appeal
Number Street Ll Concluded
Case number City State ZIP Code

| Part 11: Give Detalis About Your Business or Connections to Any Business

 

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
LJ A member of alimited liability company (LLC) or limited liability partnership (LLP)
La partner in a partnership
LJ An officer, director, or managing executive of a corporation

LJ An owner of at least 5% of the voting or equity securities of a corporation

L] No. None of the above applies. Go to Part 12.
| Yes. Check all that apply above and fill in the details below for each business.
Describe the nature of the business Employer Identification number

Dania Muchuli Do not include Social Security number or ITIN.

Business Name

 

Independent Contractor - Caregiver

 

 

 

1520 SVV Sth Street, Apt. 6, EIN;
aE SUH (elderly patients).
Name of accountant or bookkeeper Dates business existed
Miami FL 33195 MCh Fron Ope: LS Uerte
City State ZIP Code
Describe the nature of the business Employer Identification number

 

- Do not include Social Security number or ITIN.
Business Name

 

 

FIN:
Number Street
Name of accountant or bookkeeper Dates business existed
From __ To _

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 11
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Debtor 1 Dania Muchuli Case number (if known) 19-231/6-AJC

First Name Middle Name Last Name

 

Employer Identification number
Do not include Social Security number or I TIN.

Describe the nature of the business

 

Business Name

 

 

EIN: = —
Number Street : :
umber iStree Name of accountant or bookkeeper Dates business existed
From TO

 

City State ZIP Code

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

Wi No

L) Yes. Fill in the details below.

Date issued

 

Name MM/DDIYYYY

 

Number Street

 

 

City State ZIP Code

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

% js/ Dania Muchuli x
Signature of Debtor 1 Signature of Debtor 2
Date 10/28/2019 Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

vw No
L] Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
wf No

CL) Yes. Name of person . Attach the Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119).

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 12
